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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION


DISABILITY RIGHTS SOUTH                     )
CAROLINA, ABLE SOUTH                        )           C.A. No. 3:21-cv-02728-MGL
CAROLINA, AMANDA McDOUGALD                  )
SCOTT, individually and on behalf of        )
P.S., a minor; MICHELLE FINNEY,             )
individually and on behalf of M.F., a       )
minor; EMILY POETZ, individually and        )
on behalf of L.P., a minor; SAMANTHA        )
BOEVERS, individually and on behalf of      )
P.B., a minor; TIMICIA GRANT,               )
individually and on behalf of E.G., a       )
minor; CHRISTINE COPELAND,                  )
individually and on behalf of L.C., a       )
minor; HEATHER PRICE, individually          )
and on behalf of H.P., a minor; and         )
CATHY LITTLETON, individually and           )
on behalf of Q.L., a minor,                 )            JOINT STATUS REPORT
                                            )
        Plaintiffs,                         )
                                            )
vs.                                         )
                                            )
MOLLY SPEARMAN, in her official             )
capacity as State Superintendent of         )
Education; GREENVILLE COUNTY                )
SCHOOL DISTRICT; HORRY                      )
COUNTY SCHOOL DISTRICT;                     )
LEXINGTON COUNTY SCHOOL                     )
DISTRICT ONE; OCONEE COUNTY                 )
SCHOOL DISTRICT; DORCHESTER                 )
COUNTY SCHOOL DISTRICT TWO;                 )
CHARLESTON COUNTY SCHOOL                    )
DISTRICT; and PICKENS COUNTY                )
SCHOOL DISTRICT,                            )
                                            )
        Defendants.                         )
                                            )
                                            )
                                            )

       Counsel for the above-captioned parties respectfully submit this Status Report pursuant to
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the Court’s Order of July 18, 2022, (Docket Number 128). The parties respectfully request to be

excused from the Court’s mediation order because the parties have reached a preliminary

agreement to resolve this matter without resort to mediation. Subject to formal approval by the

parties, counsel will provide a supplemental report to the Court by August 1, 2022.


Respectfully submitted:

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July 19, 2022
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